             UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF TEXAS
                   LUBBOCK DIVISION


 George Stewart, on behalf of himself
 and others similarly situated,

                        Plaintiff,

 v.

 Texas Tech University Health Sciences
 Center; Lori Rice-Spearman, in her
 official capacity as President of Texas
 Tech University Health Sciences Center;
 John C. DeToledo, in his official
 capacity as Dean of the School of
                                                  Case No. 5:23-cv-00007-H
 Medicine at Texas Tech University
 Health Sciences Center; Felix Morales,
 in his official capacity as Associate Dean
 for Admissions at the School of
 Medicine at Texas Tech University
 Health Sciences Center; Louis Perez, in
 his official capacity as Senior Director of
 Admissions at the School of Medicine at
 Texas Tech University Health Sciences
 Center; Monica Galindo, in her official
 capacity as Director of Admissions at the
 School of Medicine at Texas Tech
 University Health Sciences Center,

                        Defendants.


            FIRST AMENDED CLASS-ACTION COMPLAINT
      Federal law prohibits universities that accept federal funds from discriminating on
account of race. See 42 U.S.C. § 2000d (Title VI). Medical schools in Texas are flout-
ing these requirements by using racial preferences in student admissions — a practice
that violates the clear and unequivocal text of Title VI and 42 U.S.C. § 1981, as well
as the Equal Protection Clause of the Fourteenth Amendment. The plaintiff brings



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suit to enjoin these discriminatory practices and to ensure that the defendants comply
with their obligations under federal anti-discrimination laws.

                        JURISDICTION AND VENUE
    1.    The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 and 28
U.S.C. § 1343.
    2.    Venue is proper because a substantial part of the events giving rise to the
claims occurred in this judicial district. See 28 U.S.C. § 1391(b)(2). Venue is addi-
tionally proper because at least one of the defendants resides in this judicial district
and all defendants reside in Texas. See 28 U.S.C. § 1391(b)(1).

                                      PARTIES
    3.    Plaintiff George Stewart is a citizen of Texas.
    4.    Defendant Texas Tech University Health Sciences Center is located in Lub-
bock, Texas. It can be served at the Office of General Counsel for the Texas Tech
University System, whose address is: System Administration Building, 1508 Knoxville
Avenue, Suite 301, Box 42021, Lubbock, Texas 79409-2021.
    5.   Defendant Lori Rice-Spearman is President of Texas Tech University Health
Sciences Center. Dr. Rice-Spearman can be served at the Office of General Counsel
for the Texas Tech University System, whose address is: System Administration Build-
ing, 1508 Knoxville Avenue, Suite 301, Box 42021, Lubbock, Texas 79409-2021.
Dr. Rice-Spearman is sued in her official capacity.
    6.   Defendant John C. DeToledo is Dean of the School of Medicine at Texas
Tech University Health Sciences Center. Dr. DeToledo can be served at the Office of
General Counsel for the Texas Tech University System, whose address is: System Ad-
ministration Building, 1508 Knoxville Avenue, Suite 301, Box 42021, Lubbock,
Texas 79409-2021. Dr. DeToledo is sued in his official capacity.




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    7.      Defendant Felix Morales is Associate Dean for Admissions and Student Af-
fairs at the School of Medicine at Texas Tech University Health Sciences Center. Dr.
Morales can be served at the Office of General Counsel for the Texas Tech University
System, whose address is: System Administration Building, 1508 Knoxville Avenue,
Suite 301, Box 42021, Lubbock, Texas 79409-2021. Dr. Morales is sued in his official
capacity.
    8.      Defendant Louis Perez is Senior Director for Admissions and Student Affairs
at the School of Medicine at Texas Tech University Health Sciences Center. Dr. Perez
can be served at the Office of General Counsel for the Texas Tech University System,
whose address is: System Administration Building, 1508 Knoxville Avenue, Suite 301,
Box 42021, Lubbock, Texas 79409-2021. Dr. Perez is sued in his official capacity.
    9.      Defendant Monica Galindo is Director of Admissions at the School of Med-
icine at Texas Tech University Health Sciences Center. Ms. Galindo can be served at
the Office of General Counsel for the Texas Tech University System, whose address
is: System Administration Building, 1508 Knoxville Avenue, Suite 301, Box 42021,
Lubbock, Texas 79409-2021. Ms. Galindo is sued in her official capacity.

                             STATEMENT OF FACTS
    10. The School of Medicine at Texas Tech University Health Sciences Center,
along with nearly every medical school and university in the United States,1 discrimi-
nates on account of race when admitting students by giving discriminatory prefer-
ences to non-Asian racial minorities. This practice, popularly known as “affirmative



1. See Mark J. Perry, New Chart Illustrates Graphically the Racial Preferences for
   Blacks, Hispanics Being Admitted to US Medical Schools, American Enterprise In-
   stitute, available at: https://bit.ly/3Qp0RZQ (last visited on August 17, 2024);
   see also Exhibit 1 (data from the American Association of Medical Colleges show-
   ing that the mean GPAs and MCAT scores of black and Hispanic matriculants to
   U.S. MD-granting medical schools in 2022–23 were significantly lower than the
   mean GPAs and MCAT scores of white and Asian matriculants).


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action,” allows applicants with inferior academic credentials to obtain admission at the
expense of rejected candidates with better academic credentials.
    11. These racial preferences are illegal under the clear and unambiguous text of
Title VI, which prohibits all forms of racial discrimination at medical schools and uni-
versities that receive federal funds and makes no exception for diversity-based affirm-
ative-action programs.
    12. They also violate 42 U.S.C. § 1981, which prohibits racial discrimination in
contracting and makes no exception for diversity-based affirmative-action programs.
    13. Plaintiff George Stewart grew up in Texas with the desire to study science,
become a physician, and serve others with his gifting. He made the sacrifices necessary
to excel as a student from an early age and thereafter, graduating from high school
with a 4.39/4.0 GPA and from college at the University of Texas at Austin with a
3.96/4.0 unaudited GPA in Biology while also volunteering with various relief and
ministry organizations. He worked, interned, and volunteered in medical facilities at
MD Anderson Cancer Center in Houston, Neofluidics Laboratory in San Diego, and
Baylor University Medical Center in Dallas. He also scored a 511 on his MCAT. He

believed he would be a good candidate for the Texas medical schools and for two
years applied to medical schools hoping to fulfill his dream and calling to become a

physician. Unfortunately, he was denied this opportunity while over 450 lesser quali-
fied minority students, ranging as low as a GPA of 2.82 or an MCAT of 495, were
offered admission. The schools to which Mr. Stewart applied included: Texas Tech
University Health Sciences Center; Dell Medical School at the University of Texas at
Austin; McGovern Medical School at the University of Texas Health Science Center
at Houston; John Sealy School of Medicine at the University of Texas Medical Branch
at Galveston; Long School of Medicine at the University of Texas Health Science
Center at San Antonio; and University of Texas Southwestern Medical Center.




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                                                                      David Puelz

                                                              December 26, 2022


   This 14.   Aftercollects
         document    his rejections,  Mr.tables
                             figures and   Stewart   obtainedstatistics
                                                of summary     the admissions
                                                                        for MCAT  data
                                                                                    andfor
                                                                                         GPA each  of
                                                                                                variables
across race and gender subsets of the admitted applicant pool. It is divided into two sections. First,
    the six medical schools through an open-records request, which revealed the race, sex,
we present conditional distributions and summary statistics for admitted students. Second, we
consider the entire
    grade-point     sample and
                  average,  of both
                                 MCATadmitted
                                         scoreand  rejected
                                                of every    students.inWe
                                                          applicant     thethen fit a logistic
                                                                            2021–2022          regression
                                                                                           cycle.
model for admission decision as a function of all available variables and discuss the results.
         15. The data reveal that the median and mean grade-point averages and MCAT
1. scores
     Admitted      sample
          of admitted black and Hispanic students are significantly lower than the grade-
     Admitted
   •point      students
          averages      are those
                   and MCAT       with status
                                scores        variable
                                       of admitted     equaland
                                                     white   to: Asian
                                                                 “Matriculated”,
                                                                       students.“Withdrawn After
     Acceptance”, “Oﬀer Declined” “Deferred” and “Admitted”.
         16. The data from Texas Tech, for example, reveal that blacks and Hispanics are
   • The total number of applicants with these admissions statuses equals 607.
    admitted with much lower MCAT scores than whites or Asians:
                       Texas Tech, MCAT by race




                 520
          MCAT




                 510




                 500



                         African American   American Indian   Asian        Hispanic   Multiple   Unreported   White/Caucasian
                                                                               race


Figure 1. MCAT score by race.     Boxes represent
                               FACTS     RELATED  the inner-quartile-range
                                                          TO STANDING      (25th to 75th quantiles), and the solid
black line represents the median.
         17. Mr. Stewart intends to reapply to the School of Medicine at Texas Tech
    University Health Sciences Center, and he stands “able and ready” to do so. See Car-
    ney v. Adams, 141 S. Ct. 493, 499–500 (2020); Gratz v. Bollinger, 539 U.S. 244, 261
                                                                           1
    (2003); Northeast Florida Chapter of Associated General Contractors of America v. City
    of Jacksonville, 508 U.S. 656, 666 (1993).




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    18. But the racial preferences that the defendants have established and enforce
prevent Mr. Stewart from competing on equal terms with other applicants for admis-
sion on account of his race. This inflicts injury in fact. See Gratz, 539 U.S. at 261;
Jacksonville, 508 U.S. at 666.
    19. This injury is caused by the defendants’ use of racial preferences in student
admissions, and it will be redressed by a declaratory judgment and injunction that
bars the defendants from considering or discriminating on account of race when ad-
mitting students to the medical schools.

                       CLASS-ACTION ALLEGATIONS
    20. Mr. Stewart brings this class action under Rule 23(b)(2) of the federal rules
of civil procedure.
    21. The class comprises all whites and Asians who stand “able and ready” to
apply for admission to the School of Medicine at Texas Tech University Health Sci-
ences Center.
    22. The number of persons in the class makes joinder of the individual class
members impractical.
    23. There are questions of law common to the class. All class members stand
able and ready to apply for admission to the School of Medicine at Texas Tech Uni-
versity Health Sciences Center, yet each will encounter discrimination on account of
their race unless the defendants are enjoined from implementing their discriminatory
admissions practices. The common legal questions are whether the defendants’ dis-
criminatory admissions policies violate Title VI, 42 U.S.C. § 1981, or the Equal Pro-
tection Clause.
    24. Mr. Stewart’s claims are typical of other members of the class. Each class
member will face the same type of racial discrimination — discrimination in favor of




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non-Asian racial minorities and against whites and Asians— when they apply to the
School of Medicine at Texas Tech University Health Sciences Center.
    25. Mr. Stewart adequately represents the interests of the class, and he has no
interests antagonistic to the class.
    26. A class action is appropriate under Rule 23(b)(2) because the defendants
are acting on grounds that apply generally to the class, so that final injunctive relief or
corresponding declaratory relief is appropriate respecting the class as a whole.

     FIRST CLAIM FOR RELIEF — VIOLATIONS OF TITLE VI
    27. Each of the defendants is violating Title VI by discriminating in favor of
non-Asian minority applicants for admission and against whites and Asians.
    28. The School of Medicine at Texas Tech University Health Sciences Center is
a “program or activity” that “receives Federal financial assistance” within the meaning
of Title VI.
    29. Mr. Stewart therefore seeks declaratory and injunctive relief that prohibits
the defendants from considering or discriminating on account of race any way in stu-
dent admissions, and that compels the defendants to select applicants for admission
in a color-blind and race-neutral manner.
    30. Mr. Stewart seeks this relief under Title VI, 42 U.S.C. § 1983, and any other
law that might supply a cause of action for the requested relief.
    31. Mr. Stewart seeks this relief against each of the named defendants, including
the institutional defendants.
    32. The text of Title VI makes no exceptions for “compelling state interests,”
“student-body diversity,” or race-based affirmative-action programs. It prohibits all
forms of racial discrimination at institutions that receive federal funds — regardless of
whether that racial discrimination is independently prohibited by the Equal Protection

Clause.




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    33. If the Court concludes that Grutter’s interpretation of the Equal Protection
Clause should somehow control the interpretation of Title VI, the defendants’ affirm-
ative-action programs are impermissible even under Grutter because: (1) They are not
limited in time, see Grutter v. Bollinger, 539 U.S. 306, 342 (2003) (“[R]ace-conscious
admissions policies must be limited in time”); id. at 351 (Thomas, J., concurring in
part and dissenting in part) (“I agree with the Court’s holding that racial discrimina-
tion in higher education admissions will be illegal in 25 years.”); (2) The defendants
failed to adequately consider race-neutral alternatives to achieve diversity, see Grutter,
539 U.S. 306, 339 (2003) (“Narrow tailoring . . . require[s] serious, good faith con-
sideration of workable race-neutral alternatives that will achieve the diversity the uni-
versity seeks.”); (3) The defendants are using quotas and racial balancing to ensure a
minimum number of black and Hispanic matriculants, see Grutter, 539 U.S. at 328
(“[A] race-conscious admissions program cannot use a quota system”); id. at 330
(“[O]utright racial balancing . . . is patently unconstitutional”); and (4) The defend-
ants’ use of racial preferences is not narrowly tailored to advance the supposedly “com-
pelling” interest of student-body diversity.

    34. Mr. Stewart also brings suit to seek the overruling of Grutter and Fisher v.
University of Texas at Austin, 579 U.S. 365 (2016), and he respectfully preserves for

appeal his claim that Grutter and Fisher should be overruled.

   SECOND CLAIM FOR RELIEF — VIOLATIONS OF 42 U.S.C.
                       § 1981
    35. 42 U.S.C. § 1981(a) guarantees individuals the same right to make and en-
force contracts without regard to race. See 42 U.S.C. § 1981(a) (“All persons within
the jurisdiction of the United States shall have the same right in every State and Ter-
ritory to make and enforce contracts . . . as is enjoyed by white citizens”).




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    36. 42 U.S.C. § 1981(a) protects whites (and Asians) on the same terms that it
protects “underrepresented” racial minorities. See McDonald v. Santa Fe Trail Trans-
portation Co., 427 U.S. 273, 295 (1976) (“[T]he Act was meant, by its broad terms,
to proscribe discrimination in the making or enforcement of contracts against, or in
favor of, any race.”).
    37. The individual defendants are violating 42 U.S.C. § 1981(a) by discriminat-
ing in favor of non-Asian racial minorities in student admissions, and against whites
and Asians.
    38. Mr. Stewart therefore seeks declaratory and injunctive relief that prohibits
the individual defendants from considering or discriminating on account of race in
any way in student admissions, and that compels the defendants to select applicants
for admission in a color-blind and race-neutral manner.
    39. Mr. Stewart seeks this relief under 42 U.S.C. § 1983, as well as the implied
right of action that the Supreme Court has recognized to enforce 42 U.S.C.
§ 1981(a), and any other law that might supply a cause of action for the requested
relief. See Johnson v. Railway Express Agency, Inc., 421 U.S. 454, 459–60 (1975).

    40. Mr. Stewart seeks this relief only against the individual defendants, and not
against the institutional defendants, as 42 U.S.C. § 1981 neither abrogates nor waives

a state institution’s sovereign immunity from suit. See Sessions v. Rusk State Hospital,
648 F.2d 1066 (5th Cir. 1981) (“Section 1981 contains no congressional waiver of
the state’s eleventh amendment immunity.”).
    41. The text of 42 U.S.C. § 1981(a) makes no exceptions for “compelling state
interests,” “student-body diversity,” or race-based affirmative-action programs. It pro-
hibits all forms of racial discrimination in contracting — regardless of whether that
racial discrimination is independently prohibited by the Equal Protection Clause.




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    42. If the Court concludes that Grutter’s interpretation of the Equal Protection
Clause should somehow control the interpretation of 42 U.S.C. § 1981(a), the de-
fendants’ affirmative-action programs are impermissible even under Grutter because:
(1) They are not limited in time, see Grutter v. Bollinger, 539 U.S. 306, 342 (2003)
(“[R]ace-conscious admissions policies must be limited in time”); id. at 351 (Thomas,
J., concurring in part and dissenting in part) (“I agree with the Court’s holding that
racial discrimination in higher education admissions will be illegal in 25 years.”); (2)
The defendants failed to adequately consider race-neutral alternatives to achieve di-
versity, see Grutter, 539 U.S. 306, 339 (2003) (“Narrow tailoring . . . require[s] seri-
ous, good faith consideration of workable race-neutral alternatives that will achieve
the diversity the university seeks.”); (3) The defendants are using quotas and racial
balancing to ensure a minimum number of black and Hispanic matriculants, see Grut-
ter, 539 U.S. at 328 (“[A] race-conscious admissions program cannot use a quota
system”); id. at 330 (“[O]utright racial balancing . . . is patently unconstitutional”);
and (4) The defendants’ use of racial preferences is not narrowly tailored to advance
the supposedly “compelling” interest of student-body diversity.

    43. Mr. Stewart also brings suit to seek the overruling of Grutter and Fisher v.
University of Texas at Austin, 579 U.S. 365 (2016), and he respectfully preserves for

appeal his claim that Grutter and Fisher should be overruled.

  THIRD CLAIM FOR RELIEF — EQUAL PROTECTION CLAUSE
    44. As a public institution, the School of Medicine at Texas Tech University
Health Sciences Center is subject to the commands of the Equal Protection Clause,
which prohibits state universities or their components from denying to any person the
equal protection of the laws.
    45. The Supreme Court has held that the Equal Protection Clause prohibits

racial discrimination by state universities in all but the most compelling situations. See




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Students for Fair Admissions, Inc. v. President and Fellows of Harvard College, 600
U.S. 181, 207 (2023).
    46. The defendants’ use of racial preferences in student admissions is incompat-
ible with the Equal Protection Clause as interpreted in Students for Fair Admissions.
    47. The defendants’ racial preferences are also incompatible with Grutter v. Bol-
linger, 539 U.S. 306 (2003), and Fisher v. University of Texas at Austin, 579 U.S. 365
(2016), because: (1) They are not limited in time, see Grutter v. Bollinger, 539 U.S.
306, 342 (2003) (“[R]ace-conscious admissions policies must be limited in time”);
id. at 351 (Thomas, J., concurring in part and dissenting in part) (“I agree with the
Court’s holding that racial discrimination in higher education admissions will be ille-
gal in 25 years.”); (2) The defendants failed to adequately consider race-neutral alter-
natives to achieve diversity, see Grutter, 539 U.S. 306, 339 (2003) (“Narrow tailoring
. . . require[s] serious, good faith consideration of workable race-neutral alternatives
that will achieve the diversity the university seeks.”); (3) The defendants are using
quotas and racial balancing to ensure a minimum number of black and Hispanic ma-
triculants, see Grutter, 539 U.S. at 328 (“[A] race-conscious admissions program can-

not use a quota system”); id. at 330 (“[O]utright racial balancing . . . is patently un-
constitutional”); and (4) The defendants’ use of racial preferences is not narrowly

tailored to advance the supposedly “compelling” interest of student-body diversity.
    48. Even if the medical schools’ affirmative-action programs were consistent
with Grutter and Fisher, they would remain illegal under the text of Title VI and 42
U.S.C. § 1981, which categorically prohibit racial discrimination with no caveats or
allowances for “compelling interests, “student body diversity,” or anything else.
    49. And if the Court somehow concludes that the medical schools’ affirmative-
action programs are allowable under Grutter and Fisher, then Mr. Stewart will respect-
fully seek the overruling or reconsideration of Grutter and Fisher on appeal.




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    50. Mr. Stewart therefore seeks declaratory and injunctive relief that prohibits
the defendants from considering or discriminating on account of race in any way in
student admissions, and that compels the defendants to select applicants for admission
in a color-blind manner.
    51. Mr. Stewart seeks this relief under 42 U.S.C. § 1983 and any other law that
might supply a cause of action for the requested relief.
    52. Mr. Stewart seeks this relief only against the individual defendants, and not
against the institutional defendants, as 42 U.S.C. § 1983 authorizes lawsuits only
against “persons” and not states or state institutions. See Will v. Michigan Dep’t of
Police, 491 U.S. 58, 64–71 (1989) (a state is not a “person” under 42 U.S.C. § 1983).

                              DEMAND FOR RELIEF
    53. Mr. Stewart respectfully requests that the court:
         a.     certify the class described in paragraph 21;
         b.     declare that each of the defendants is violating Title VI by discrimi-
                nating in favor of non-Asian racial minorities in student admissions;
         c.     declare that the individual defendants (but not the institutional de-
                fendants) are violating 42 U.S.C. § 1981(a) and the Equal Protection
                Clause by discriminating in favor of non-Asian racial minorities in stu-
                dent admissions;
         d.     permanently enjoin the defendants from considering race in student
                admissions;
         e.     permanently enjoin the defendants from asking or allowing an appli-
                cant for admission to reveal their race;
         f.     enter an award of nominal, compensatory, and punitive damages;




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        g.    appoint a court monitor to oversee all decisions relating to the de-
              fendants’ admission of students to ensure that these decisions are free
              from racial discrimination of any sort;
        h.    appoint a court monitor to oversee any “diversity office” that may
              exist at Texas Tech University Health Sciences Center to ensure that
              it does not aid or abet violations of the nation’s civil-rights laws;
        i.    award costs and attorneys’ fees;
        j.    grant all other relief that the Court deems just, proper, or equitable.

                                           Respectfully submitted.

                                            /s/ Jonathan F. Mitchell
G P. H                           J F. M
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Dated: August 17, 2024                     and Proposed Class




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                         CERTIFICATE OF SERVICE
    I certify that on August 17, 2024, I served this document through CM/ECF
upon:

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  -                                   Page 14 of 14
